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 1                               [PROPOSED] ORDER
 2        Pursuant to the foregoing Stipulation, and good cause appearing, IT IS
 3 HEREBY ORDERED that the Appeal is dismissed with prejudice.
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                                           Stephen V. Wilson
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                                           United States District Judge
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                    STIPULATION AND [PROPOSED] ORDER DISMISSING APPEAL
